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 s                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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ii       UNITED STATES OF AMERICA,                Case No. C',~ 12 - p~p ~(~ ~(- Pj~
is
                            Plaintiff,
13
                                                 ORDER OF DETENTION AFTER
                v.                               HEARING
14                                               [Fed.R.0rim.P. 32.1(A)(6);
15       ~~~1 ~~~5 1 ~~~~ ~                      18 U.S.C. § 3143(A)]
16
                            Defendant.
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is
19             The defendant having been arrested in this District pursuant to a warrant
2o       issued by the United States District Court for the ~~~k ~ ~~~~~GJ ~ Ca ~~~~~~ ~~'
21       for alleged violations) of the terms and conditions of his/l~r ~'n]
22       [supervised release]; and
23             The Court having conducted a detention hearing pursuant to Federal Rule of
24       Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
25             The Court finds that:
26       A.   ~      The defendant has not met his/her burden of establishing by clear and
2~             convincing evidence that he/she is not likely to flee if released under 18
28             U.S.C. § 3142(b)or (c). This finding is based on ~ ~~'~,~ ~V'd!~.~c.~i
     Case 2:12-cr-00469-PA Document 34 Filed 10/19/21 Page 2 of 2 Page ID #:158




     4            and/or
     s   B.   ()       The defendant has not met his/her burden of establishing by clear and
 6            convincing evidence that he/she is not likely to pose a danger to the safety of
     ~        any other person or the community if released under 18 U.S.C. § 3142(b) or
 s            (c). This finding is based on:
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13             IT THEREFORE IS ORDERED that the defendant be detained pending the
14       further revocation proceedings.
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16       Dated:      ~ a 1!a ~~D'~1
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is                                                                   C~~
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                                                   ALEXANDER . MacKINNON
2o                                             UNITED STATES MAGISTRATE JUDGE
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